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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,
                                                         CASE NO. 1:05-CR-163
v.
                                                         HON. ROBERT HOLMES BELL
JOHN HOWARD DOUGLAS, JR.,

              Defendant.
                                     /


                      MEMORANDUM OPINION AND ORDER

       Defendant was sentenced on March 16, 2006, to a term of 120 months following his

guilty plea to Possession with Intent to Distribute 5 Grams or More of Cocaine Base and

Unspecified Quantities of Cocaine and Marijuana contrary to 21 U.S.C. §841(a)(1) and

(b)(1)(B).   On January 13, 2010, the Court issued an Amended Judgment amending

defendant’s term of custody to 96 months pursuant to a Rule 35(b) motion filed by the

government.

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #1044).

       On September 30, 2009, the Probation Department issued a Sentence Modification

Report which indicated the defendant was ineligible for a reduction in sentence as the new

calculation did not result in a lower guideline range.
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      ACCORDINGLY, since Amendment 706 does not result in a lower guideline range,

defendant is not eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG

§1B1.10, and defendant’s motion is hereby DENIED.




DATED:     February 1, 2010              /s/ Robert Holmes Bell
                                        ROBERT HOLMES BELL
                                        UNITED STATES DISTRICT JUDGE
